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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT                                                       "    I, f)
                                                                                                                          i·   >, :;
                                           SOUTHERN DISTRICT OF CALIFORNIA                          I J :' ,- ti     i'




                UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                  V.                                 (For Offenses Committed On or After November I, 1987)
                                                                                                                          tJ-C:~.      • 'f
                  ALMA BRIDGET MARIN (2)
                                                                        Case Number:        14CR3451-BAS

                                                                     JACK BOLTAX
                                                                     Defendant's Attorney
REGISTRATION NO.                      42753298
o
 I2SI    pleaded guilty to count(s)      ONE (1) OF THE INFORMATION

    was found guilty on count(s)
    after a plea of not J!;uiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                        Nature of Offense                                                                  Number(s)
18 USC 922(a)(1)(A)                    UNLAWFUL TRANSPORTATION OR RECEIPT OF                                                      1
                                       FIREARMS IN INTERSTATE OR FOREIGN COMMERCE




     The defendant is sentenced as provided in pages 2 through                  4           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Refonn Actof 1984.
 o The defendant has been found not guilty on count(s)
 o Couot(s)                                                   is .          dismissed on the motion of the United States.

  I2SI    Assessment: $1 00.00



  I2SI No fine                    0 Forfeiture pursuant to order filed                                             , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                      MARCH 23. 2015
                                                                      Dare OfhnpoSitiOnOf~


                                                                      HON.     ~AS       T
                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                          14CR3451-BAS
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DEFENDANT:               ALMA BRIDGET MARIN (2)                                                  Judgment - Page 2 of 4
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                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
EIGHTEEN (18) MONTHS.




o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZl   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY AS CLOSE
       TO BAKERSFIELD, CALIFORNIA AS POSSIBLE SUCH AS TAFT OR VICTORVILLE.




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
             at                            A.M.              on
                  --------------~                                 ------------------------~---------
       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on   __________________          ~----        to __________      ~   _________________

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        14CR3451-BAS
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    DEFENDANT:                  ALMA BRIDGET MARIN (2)                                                                       Judgment - Page 3 of 4
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shaH submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o      substance abuse. (Check, if applicable.)
       The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offenderregistration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fIne or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior t{) any change in residence. or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him OTher at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and .shall pemtit the probation officer to make :such notifications and to confirm the defendant's compliance
          with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION


      1. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
         Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
         contraband or evidence of a violation of a condition of release; failure to submit to a search may be
         grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.


      2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.


      3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


      4. Reside in a Residential Reentry Center, RRC,as directed by the probation officer for a period of up to
         120 days (non-punitive).


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